

Matter of Andrew D. (Carrie R.) (2020 NY Slip Op 04260)





Matter of Andrew D. (Carrie R.)


2020 NY Slip Op 04260


Decided on July 24, 2020


Appellate Division, Fourth Department



Published by New York State Law Reporting Bureau pursuant to Judiciary Law § 431.


This opinion is uncorrected and subject to revision before publication in the Official Reports.



Decided on July 24, 2020
SUPREME COURT OF THE STATE OF NEW YORK
Appellate Division, Fourth Judicial Department

PRESENT: WHALEN, P.J., CENTRA, NEMOYER, CURRAN, AND WINSLOW, JJ.


575 CAF 17-01427

[*1]IN THE MATTER OF ANDREW D., EMILY D., SKYLER D., AND JOSEPH D. STEUBEN COUNTY DEPARTMENT OF SOCIAL SERVICES, PETITIONER; CARRIE R., RESPONDENT.
IN THE MATTER OF ANDREW D., EMILY D., SKYLER D., AND JOSEPH D. STEUBEN COUNTY DEPARTMENT OF SOCIAL SERVICES, PETITIONER-RESPONDENT; JOSEPH D., RESPONDENT-APPELLANT. (APPEAL NO. 2.)






ROSEMARIE RICHARDS, GILBERTSVILLE, FOR RESPONDENT-APPELLANT.
JESSICA M. PEASLEE, BATH, FOR PETITIONER-RESPONDENT.
MARYBETH D. BARNET, MIDDLESEX, ATTORNEY FOR THE CHILDREN. 


	Appeal from an amended order of the Family Court, Steuben County (Joseph W. Latham, J.), entered June 27, 2017 in proceedings pursuant to Family Court Act article 10. The amended order, among other things, determined that respondent Joseph D. had abused and neglected Skyler D. 
It is hereby ORDERED that said appeal is unanimously dismissed without costs.
Same memorandum as in Matter of Skyler D. ([appeal No. 4] — AD3d — [July 24, 2020] [4th Dept 2020]).
Entered: July 24, 2020
Mark W. Bennett
Clerk of the Court








